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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


JOHN DOE,

                                                      Plaintiff,

                vs.                                                   5:17-CV-0853 (BKS/TWD)


HARTWICK COLLEGE,

                                                      Defendant.




                 ORDER OF DISMISSAL BY REASON OF SETTLEMENT


The Court has been advised by the mediator and counsel that this action has been settled, or is in

the process of being settled (Dkt. Nos. 36 and 37). A review of the Court’s docket indicates that

no infant or incompetent is a party to this action. Accordingly, pursuant to N.D.N.Y. L.R.

68.2(a), it is hereby

        ORDERED as follows:

        (1) The above-captioned case is hereby dismissed and discontinued in its entirety,

            without costs, and without prejudice to the right of any party to reopen this action

            within thirty (30) days of the date of this Order if the settlement is not consummated.

        (2) Any application to reopen this case must be filed within thirty (30) days of the date

            of this Order. An application to reopen filed after the expiration of that thirty-day

            period, unless it is extended by the Court prior to its expiration, may be summarily

            denied solely on the basis of untimeliness.
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      (3) If the parties wish for the Court to retain ancillary jurisdiction for the purpose of

         enforcing any settlement agreement, they must submit a request that the Court retain

         jurisdiction over enforcement of the agreement, or submit the agreement to the Court

         for incorporation of its terms into an Order retaining jurisdiction, within the above

         referenced thirty (30) day for reopening this matter.

      (4) The dismissal of the above-captioned action shall become with prejudice on the

         thirty-first day following the date of this Order, unless any party moves to reopen this

         case within thirty (30) days of the date of this Order upon a showing that the

         settlement was not consummated, or the Court extends the thirty (30) day period prior

         to its expiration.

      (5) The Clerk of the Court is respectfully directed to close this case and forward a copy

         of this Order to the parties pursuant to the Court’s local rules.



Dated: July 9, 2018
       Syracuse, New York
